         Case: 3:22-cv-50208
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        EFOR    UNITED STATES DISTRICT COURT
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                        District of Illinois − CM/ECF NextGen 1.6.3
      6/1                                Eastern Division
             . BRUTO    N
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           IS T R IC T COURT
CLERK, U.S
    Forest River Farms, et al.
                                       Plaintiff,
    v.                                                   Case No.: 1:22−cv−00188
                                                         Honorable Martha M. Pacold
                                   JUDGE JOHNSTON
    Deere & Co.                MAGISTRATE JUDGE JENSEN
                                       Defendant.
                                                                  22CV50208
                                 DIVISIONAL TRANSFER NOTICE

    DIVISIONAL TRANSFER Notice. Case transferred to Western Division − Rockford. (jp,
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